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            Trustee for the Bankruptcy Estate of Layfield & Barrett, APC
      7
      8                                      UNITED STATES BANKRUPTCY COURT
      9                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
     IO
     11     In re:                                               Case No.: 2:17-bk-19548-NB
     12     LAYFIELD & BARRETT, APC,                             Chapter 11
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     13                                          Debtor.
     14
     15     RICHARD M. PACHULSKI, Chapter 11                    Adv. Case No.: 2:19-ap-___-NB
.J          Trustee for the bankruptcy estate of Layfield &
     16     Barrett, APC,                                        COMPLAINT FOR AVOIDANCE AND
                                                                 RECOVERY OF PREFERENTIAL
     17                                  Plaintiff,              TRANSFERS
     18     vs.
     19     GRACE WATSON, an individual, and DOES
            1 through 3,
     20
                                         Defendants.
     21
                     Plaintiff, Richard M. Pachulski, in his capacity as the Chapter 11 Trustee of the bankruptcy
     22
            estate of Layfield & Barrett, APC ("Plaintiff' or the "Trustee"), alleges as follows:
     23
                                                      JURISDICTION AND VENUE
     24
                     1.       The Court has jurisdiction over this complaint pursuant to 28 U.S.C.§ 157 and§
     25
            1334, and venue in this district is proper pursuant to 28 U.S.C.§ 1409.
     26
                     2.      This adversary proceeding is commenced pursuant to Rule 7001(1) of the Federal
     27
            Rules of Bankruptcy Procedure (the "Bankruptcy Rules") and all claims set forth herein are core
     28
            proceedings under 28 U.S.C.§ 157(b)(2)(F). The Trustee confirms his consent pursuant to Local

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        1     Bankruptcy Rule 9013-l(t) to the entry of a final order by the Court in connection with the claims

        2     set forth herein to the extent that it is later determined that the Court, absent the consent of the

        3     parties, cannot enter final orders or judgments in connection herewith consistent with Article III of

        4     the United States Constitution.

        5               3.      The bases for the relief requested herein are 11 U.S.C. §§ 547 and 550 and

        6     Bankruptcy Rule 7001.

        7                                                  THE PARTIES

        8               4.      Plaintiff, Richard M. Pachulski, is the duly appointed and acting Chapter 11 Trustee

        9     of the bankruptcy estate of Layfield & Barrett, APC ("L&B" or the "Debtor"), in the above-

       10     captioned bankruptcy case pending in the United States Bankruptcy Court for the Central District of

       11     California (the "Bankruptcy Court"), assigned case number 2:l 7-bk-19548-NB (the "Bankruptcy
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Ul     12     Case").
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       13               5.      Plaintiff is informed and believes, and based thereon alleges, that Defendant Grace
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N      14     Watson ("Watson") is an individual who currently is, and at all relevant times was, a resident of the
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       15     County of Los Angeles, State of California.
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u      16               6.      Plaintiff is informed and believes, and based thereon alleges, that Does 1 through 3
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       17     were either the immediate or mediate transferee of one or more of the preferential transfers

       18     hereinafter alleged and/or alter ego of an immediate or mediate transferee of one or more of such

       19     preferential transfers. The true names the defendants named herein as Does 1 through 3 are

       20     unknown to Plaintiff, who therefore sues such defendants by such fictitious names. Plaintiff will

       21     amend this Complaint to show their true names when the same have been ascertained.

       22                                             BACKGROUND FACTS

       23               7.      L&B was a professional law corporation with offices in a number of states, including

       24     California, Utah and Arizona.

       25               8.      On August 3, 2017 (the "Petition Date"), petitioning creditors The Dominguez Firm

       26     ("TDF'~), Nayazi Reyes and Maria A. Rios (the "Petitioning Creditors") filed an involuntary petition

       27     for relief under chapter 7 of the Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the "Bankruptcy

       28     Code"), against the Debtor in the Bankruptcy Court. Pursuant to section 54l(a) of the Bankruptcy

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            1     Code, the commencement of the Bankruptcy Case "creates an estate ... comprised of ... all legal or

            2     equitable interests of the debtor in property ... ," including, without limitation, all of a debtor's

            3     claims, litigation rights and "property that the trustee recovers under section ... 550" of the

            4     Bankruptcy Code (collectively, the "Bankruptcy Estate"). 11 U.S.C. §§ 541(a)(l), (3).

            5              9.       That same day, the Petitioning Creditors filed an Emergency Motion/or Appointment

            6     ofan Interim Trustee Under 11 U.S.C. § 303(g) and Granting Emergency Re/ief(the "Trustee

            7     Motion"). In the Trustee Motion, the Petitioning Creditors asserted, among other allegations, that

            8     L&B clients' "[s]ettlement proceeds have not been distributed and may no longer exist, vendors and

            9     other creditors have not been paid and clients are effectively unrepresented in some 80 pending

           10     cases," and that, consequently, the appointment of a trustee is "essential to protect and preserve

           11     property of the ... estate and to prevent concealment, waste, loss or conversion of the assets of the
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bl         12     estate .... "
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.J     j   13              10.      In response to the Trustee Motion, L&B, filed a Motion to Convert Case Under 11
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0:,:       14     U.S.C. §§ 706(a) or l l l 2(a) on August 8, 2017 (the "Conversion Motion"), seeking to convert the
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           15     Bankruptcy Case to one under chapter 11 of the Bankruptcy Code. The Bankruptcy Court entered
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u          16     orders granting the Conversion Motion, and denying the Trustee Motion.
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           17              11.      On August 16, 2017, L&B, Petitioning Creditors, and secured creditor, Advocate

           18     Capital, Inc. ("Advocate Capital"), entered into a Stipulation for the Appointment ofa Chapter 11

           19     Trustee, which the Bankruptcy Court approved by order on August 17, 201 7.

           20              12.      On August 21, 2017, the United States Trustee (the "UST") filed its Notice of

           21     Appointment of Chapter 11 Trustee, appointing Plaintiff Richard M. Pachulski as Chapter 11 Trustee

           22     in the Bankruptcy Case. Also on August 21, 2017, the UST filed an Application for Order

           23     Approving Appointment of Chapter 11 Trustee, which application was granted by the Bankruptcy

           24     Court's order entered the following day.

           25              13.      On August 28, 2017, Plaintiff filed his Acceptance ofAppointment as Chapter 11

           26     Trustee in the Bankruptcy Case.

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       1                                      THE SUBJECT TRANSFERS

       2              14.      Plaintiff is informed and believes, and based thereon alleges, that Watson was a

       3     creditor ofL&B.

       4              15.      Plaintiff is informed and believes, and based thereon alleges, that during the 90-day

       5     period prior to the commencement of L&B's bankruptcy case (the "Preference Period"), The

       6     Homampour Law Firm, for and at the direction ofL&B in satisfaction ofL&B's debt owed to

       7     Watson, transferred funds then due and owing to, and the property of, L&B to Watson on June 26,

       8     2017 in the amount of $151,302.53 via wire transfer (the "Transfer").

       9                                                             I.

      10                                           FIRST CAUSE OF ACTION

      11                                     (For Avoidance of Preferential Transfer
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Ill   12                     Pursuant to 11 U.S.C. § 547(b) Against Watson and Does 1 through 3)
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      13              16.      Plaintiff refers to and incorporates herein by reference each and every allegation
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N     14     contained in Paragraphs 1 through 15, above.
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:;2   15              17.      Plaintiff is informed and believes, and based thereon alleges, that during the
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CJ    16     Preference Period, Watson was a creditor of L&B.
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      17              18.      Plaintiff is informed and believes, and based thereon alleges, that the Transfer was

      18     made to or for the benefit of Watson and Does 1 through 3.

      19              19.      Plaintiff is informed and believes, and based thereon alleges, that Transfer was made

      20     for or on account of an antecedent debt owed by L&B to Watson.

      21              20.      Plaintiff is informed and believes, and based thereon alleges, that the Transfer was

      22     made during the Preference Period.

      23              21.      Plaintiff is informed and believes, and based thereon alleges, that the Transfer was

      24     made while L&B was insolvent.

      25              22.      Plaintiff is informed and believes, and based thereon alleges, that the Transfer

      26     enabled Watson and Does 1 through 3 to receive more than Watson and Does 1 through 3 would

      27     have received if (i) L&B' s chapter 11 case was instead a case under chapter 7 of the Bankruptcy

      28     Code; (ii) the transfer and/or payment had not been made; and (iii) Watson and Does 1 through 3

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                1     received payment on account of the debt paid by the Transfer to the extent provided by the

                2     Bankruptcy Code.

                3              23.      Plaintiff is informed and believes, and based thereon alleges, that the Transfer

                4     constitutes an avoidable preference pursuant to section 547(b) of the Bankruptcy Code.

                5                                                          II.

                6                                          SECOND CAUSE OF ACTION

                7                                        (For Recovery of Avoided Transfer

                8                       Pursuant to 11 U.S.C. § 550 Against Watson and Does 1 through 3)

                9              24.      Plaintiff refers to and incorporates herein by reference each and every allegation

               10     contained in Paragraphs 1 through 23, above.

               11              25.      Plaintiff is informed and believes, and based thereon alleges, that each of Watson and
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I.II           12     Does 1 through 3 was either (i) the initial transferee of the Transfer, (ii) the entity for whose benefit
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oil     ~      13     the Transfer was made, or (iii) an immediate or· mediate transferee of the Transfer.
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N                              26.      Plaintiff is informed and believes, and based thereon alleges, that the Transfer is
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;;;:    3      15     recoverable pursuant to section 550 of the Bankruptcy Code and that Plaintiff is entitled to recover
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C.J            16     the value of the Transfer from each and all of Watson and Does 1 through 3 pursuant to section
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               17     550(a) of the Bankruptcy Code.

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        1                                               PRAYER FOR RELIEF

        2               WHEREFORE, Plaintiff prays for judgment in each cause of action as follows:

        3               1.       Pursuant to the First and Second Causes of Action, enter judgment in favor of

        4      Plaintiff and against Watson and Does 1 through 3 under sections 547 and 550 of the Bankruptcy

        5      Code and allow Plaintiff to avoid and recover the Transfer in the amount of $151,302.53;

        6               2.       Award Plaintiff prejudgment interest at the legally allowed applicable rate;

        7               3.       A ward Plaintiff's costs and expenses of suit herein; and

        8               4.       Grant Plaintiff such other and further relief as the Court deems just and appropriate.

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               Dated: January 24, 2019                         PACHULSKI STANG ZIEHL & JONES LLP
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       13                                                      Attorneys for Plaintiff Richard M. Pachulski, Chapter
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N      14                                                      11 Trustee for the bankruptcy estate of Layfield &
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